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                           IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF DELAWARE

In re:                                                              Chapter 15

NEXII BUILDING SOLUTIONS INC., et al., 1                            Case No. 24-10026

                      Debtors in a Foreign Proceeding.              (Joint Administration Requested)


              MOTION FOR ORDER SCHEDULING RECOGNITION HEARING
             AND SPECIFYING FORM AND MANNER OF SERVICE OF NOTICE

          Nexii Building Solutions Inc., in its capacity as the authorized foreign representative

(the “Foreign Representative”) of the above-captioned debtors (collectively, the “Debtors”), which

are the subject of jointly-administered proceedings (the “CCAA Proceedings”) under the

Companies’ Creditors Arrangement Act, R.S.C. 1985, c. C-36 (as amended, the “CCAA”)

in the Supreme Court of British Columbia (the “Canadian Court”), respectfully states as follows

in support of this motion (this “Motion”):

                                                 Relief Requested

           1.        The Foreign Representative respectfully requests entry of an order, substantially in

    the form attached hereto as Exhibit A (the “Order”):

           (a)       approving the proposed notice, annexed to the Order as Exhibit 1 (the “Recognition
                     Hearing Notice”), which provides parties in interest notice of, among other things,
                     the following:

                     (i)          the Foreign Representative’s filing of petitions for recognition under
                                  chapter 15 of the Bankruptcy Code (the “Chapter 15 Petitions”) and
                                  related pleadings, including the Verified Petition for (I) Recognition of
                                  Foreign Main Proceedings, (II) Recognition of Foreign Representative,
                                  and (III) Related Relief Under Chapter 15 of the Bankruptcy Code (the

1         The Debtors in these chapter 15 cases (the “Chapter 15 Cases”), along with the last four digits of each
          Debtor’s unique identifier, are Nexii Building Solutions Inc. (0911), Nexii Construction Inc. (1333), NBS IP
          Inc. (9930), and Nexii Holdings Inc. (5873). The Debtors’ service address for purposes of these Chapter 15
          Cases is 1455 West Georgia Street, #200, Vancouver, British Columbia V6G 2T3.


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                                  “Verified Petition”);

                     (ii)         the Court’s entry of a provisional order (the “Provisional Order”) granting
                                  the Motion for Provisional Relief Pursuant to Section 1519 of the
                                  Bankruptcy Code;

                     (iii)        the deadline to object to final recognition of the CCAA Proceedings and the
                                  Court’s entry of an order (the “Final Order”) granting the relief sought in
                                  the Verified Petition (including an extension of the relief provided in the
                                  Provisional Order) on a final basis (the “Recognition Objection Deadline”);
                                  and

                     (iv)         the date, time, and location of the Recognition Hearing (defined below);

           (b)       scheduling a hearing (the “Recognition Hearing”) for the Court to consider final
                     recognition of the CCAA Proceedings as foreign main proceedings and the other
                     relief sought in the Verified Petition on a final basis;

           (c)       approving the manner of service on the Master Service List (as defined below) of
                     the Recognition Hearing Notice;

           (d)       approving the manner of service on the Core Notice Parties (as defined below) of
                     any pleadings that the Foreign Representative files hereafter in these Chapter 15
                     Cases; and

           (e)       granting certain related relief.

                                                     Background

           2.        On the date hereof, the Foreign Representative filed voluntary petitions for relief

 under chapter 15 of title 11 of the United States Code (the “Bankruptcy Code”) for each of the

 Debtors in the United States Bankruptcy Court for the District of Delaware (the “Court”). A

 description of the Debtors’ business and the events leading up to the commencement of the

 CCAA Proceedings and these Chapter 15 Cases is included in the Declaration of Foreign

 Representative Pursuant to 11 U.S.C. § 1515 and Rule 1007(a)(4) of the Federal Rules of

 Bankruptcy Procedure and in Support of Verified Petition for (I) Recognition of Foreign Main

 Proceedings, (II) Recognition of Foreign Representative, and (III) Related Relief Under



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    Chapter 15 of the Bankruptcy Code (the “Tucker Declaration”), 2 filed concurrently herewith

    and fully incorporated herein by reference.

                                             Jurisdiction and Venue

           3.        This Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334

    and the Amended Standing Order of Reference from the United States District Court for the District

    of Delaware, dated February 29, 2012 (the “Amended Standing Order”).                              The Foreign

    Representative confirms its consent, pursuant to Bankruptcy Rule 7008, to the entry of a final

    order by the Court in connection with this Motion to the extent that it is later determined that the

    Court, absent consent of the parties, cannot enter final orders or judgments in connection herewith

    consistent with Article III of the United States Constitution.

           4.        These Chapter 15 Cases have been properly commenced pursuant to section 1504

    of the Bankruptcy Code by the filing of petitions for recognition of the CCAA Proceedings under

    section 1515 of the Bankruptcy Code.

           5.         Venue is proper pursuant to 28 U.S.C. § 1410(1) and (3).

           6.        The statutory bases for the relief requested herein are sections 105(a), 1504, 1510,

    1514, 1515, 1517, and 1521 of the Bankruptcy Code, rules 2002(l), 2002(m), 2002(p), 2002(q),

    and 9007 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), and

    rule 9013-1(m) of the Local Rule of Bankruptcy Practice and Procedure of the United States

    Bankruptcy Court for the District of Delaware (the “Local Rules”).




2         Capitalized terms used but not otherwise defined herein shall have the meaning ascribed to them in the Tucker
          Declaration.


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                                               Basis For Relief

  I.     Form and Manner of Service of the Notice.

           7.        Bankruptcy Rule 2002(q)(1) provides that:

                     . . . the debtor, all persons or bodies authorized to administer foreign
                     proceedings of the debtor, all entities against whom provisional relief is
                     being sought under § 1519 of the Code, all parties to litigation pending in
                     the United States in which the debtor is a party at the time of the filing of
                     the petition, and such other entities as the court may direct, [shall be given]
                     at least 21 days’ notice by mail of the hearing [on the petition for recognition
                     of a foreign proceeding].

 Fed. R. Bankr. P. 2002(q). Bankruptcy Rule 2002(q), however, does not provide any additional

 details regarding the form and manner in which such notice must be given. Pursuant to Bankruptcy

 Rules 2002(m) and 9007, when notice is to be given under the Bankruptcy Rules, the presiding

 court may designate the form and manner in which such notice shall be given. Fed. R.

 Bankr. P. 2002(m), 9007.

           A.        Recognition Hearing Notice.

           8.        Pursuant to Bankruptcy Rule 2002(q), the Foreign Representative proposes to serve

 the Recognition Hearing Notice by electronic mail to the extent email addresses are available and

 otherwise by United States mail or Canadian mail, first class postage prepaid within three

 (3) business days following entry of the Order and the Provisional Order, or as soon thereafter as

 is reasonably practicable, on: (a) the Debtors; (b) all persons or bodies authorized to administer

 foreign proceedings of the Debtors, including the Monitor; (c) all parties to litigation pending in

 the United States in which a Debtor is a party at the time of the filing of the Chapter 15 Petitions;

 (d) all parties against whom provisional relief is being sought under section 1519 of the Bankruptcy




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 Code, including all known creditors and contract counterparties of the Debtors in the United States;

 (e) all parties that hold equity in a Debtor with addresses that, according to the Debtors’ books

 and records, are located in the United States; (f) parties that have appeared in the CCAA

 Proceedings as of the date of service of the relevant pleading or notice; (g) the Office of the United

 States Trustee for the District of Delaware; and (h) any party that has requested notice pursuant

 to Bankruptcy Rule 2002 (collectively, the “Master Service List”).

           9.        The Recognition Notice will: (a) notify parties on the Master Service List of the

 filing of the Chapter 15 Petitions and certain related pleadings in the Chapter 15 Cases, including

 the Provisional Order, Verified Petition, the proposed Final Order, and the Initial CCAA Order

 in the CCAA Proceedings (collectively, the “Notice Documents”); (b) set forth the Recognition

 Objection Deadline and the date and time of the Recognition Hearing; (c) notify parties on the

 Master Service List that copies of the Notice Documents are available and may be examined (i)

 free of charge by contacting the Foreign Representative’s U.S. counsel or (ii) downloaded for a

 fee from the Court’s electronic docket at www.deb.uscourts.gov; and (d) provide a telephone

 number, address, and email address by which parties on the Master Service List may obtain

 documents filed in these Chapter 15 Cases, including the Notice Documents.

           10.       A condensed form of the Recognition Hearing Notice (without exhibits),

 substantially in the form attached as Exhibit 2 to the Order (the “Publication Notice”), will be

 published in the domestic edition of the Wall Street Journal. Accordingly, the Foreign

 Representative respectfully requests that this Court approve the Notice Documents and the

 foregoing manner of service of the Notice Documents pursuant to Bankruptcy Rules 2002(m),




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 2002(q)(1), and 9007.

           B.        Core Notice Parties

           11.       The Foreign Representative proposes to serve copies of the Notice Documents and

 other papers it files in these cases by electronic mail to the extent email addresses are available

 and otherwise by United States mail or Canadian mail, first class postage prepaid, on the following

 parties, or their counsel, if known: (a) the Debtors; (b) all persons or bodies authorized to

 administer foreign proceedings of the Debtors; (c) the Monitor; (d) the Senior Secured

 Lenders; (e) counterparties to the Debtors’ United States-based contracts; (f) all parties to

 litigation pending in the United States in which a Debtor is a party at the time of the filing of the

 Chapter 15 Petitions; (g) the Deputy Attorney General of British Columbia; (h) the Office of the

 United States Trustee for the District of Delaware; and (i) any party that has requested notice

 pursuant to Bankruptcy Rule 2002 (collectively, the “Core Notice Parties”).

         C.          Objections to Chapter 15 Petitions and Verified Petition.

           12.       The Foreign Representative further requests that the Court require that objections

 or responses, if any, to the Chapter 15 Petitions, recognition of the CCAA Proceedings as foreign

 main proceedings, or to any of the other relief requested in the Verified Petition, (i) be in writing;

 (ii) detail the factual and legal basis for the response or objection; (iii) comply with the Bankruptcy

 Code, the Bankruptcy Rules, and the Local Rules of Bankruptcy Practice and Procedure of the

 United States Bankruptcy Court for the District of Delaware (the “Local Rules”); and (iv) be filed

 with the Office of the Clerk of the Court, 824 N. Market Street, Third Floor, Wilmington, Delaware

 19801, and served upon the following counsel so as to be received at least seven (7) days prior to




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 the Recognition Hearing: (i) Barack Ferrazzano Kirschbaum & Nagelberg LLP, 200 West

 Madison Street, Suite 3900 Chicago, Illinois 60606, Attn: Nathan Rugg; and (ii) Pachulski Stang

 Ziehl & Jones LLP, 919 North Market Street, 17th Floor, Wilmington, Delaware 19801, Attn:

 Steven Golden and Colin Robinson.

         D.        Recognition Hearing.

           13.       The Foreign Representative requests that the Recognition Hearing be scheduled on

 or about February 5, 2024, or as soon thereafter as is convenient for the Court.

                                              Basis for Relief

           14.       Bankruptcy Rule 2002(q)(1) provides that parties are to be given 21-days’ notice

 of a hearing to consider granting the relief requested in a chapter 15 petition. Fed. R. Bankr. P.

 2002(q)(1). The notice also is required to state whether the petition seeks recognition as a foreign

 main proceeding or foreign nonmain proceeding, and include any other document that the court

 may require. See id.

           15.       Bankruptcy Rule 2002(m) and 9007 provide that when notice is to be given under

 the Bankruptcy Rules, the court may enter orders designating the form and manner in which such

 notice shall be given. Fed. R. Bankr. P. 2002(m) and 9007. Further, section 105(a) of the

 Bankruptcy Code provides the Court with the power to grant the relief requested herein by the

 Foreign Representative. See 11 U.S.C. § 105(a) (stating that a bankruptcy court “may issue any

 order, process, or judgment that is necessary or appropriate to carry out the provisions of the

 [Bankruptcy Code]”); see also 11 U.S.C. § 103(a) (chapter 1 is applicable in a case under chapter

 15).




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           16.       The Recognition Hearing Notice and the proposed manner of serving the

 Recognition Hearing Notice and related papers should be approved because they meet the

 requirements of Bankruptcy Rule 2002(q). The proposed Master Service List comprises of all the

 parties required to be served under Bankruptcy Rule 2002(q) (and additional parties not required

 to be served by that rule), and the Foreign Representative intends to give such parties at least 21

 days’ notice by mail of the Recognition Hearing as required by the rule. Additionally, the

 Recognition Hearing Notice states that the Foreign Representative is seeking recognition of the

 CCAA Proceedings as foreign main proceedings.

           17.       Although the Foreign Representative does not believe Local Rule 9013-1(m) is

 applicable under the circumstances, the Foreign Representative further respectfully requests the

 Court to waive certain of the service requirements such Rule to the extent applicable. Local Rule

 9013-1(m)(iv) provides that:

                         Within forty-eight (48) hours of the entry of an order entered under this
                         Local Rule (“First Day Order”), the debtor or foreign representative
                         shall serve copies of all motions and applications filed with the Court
                         as to which a First Day Order has been entered, as well as all First Day
                         Orders, on those parties referred to in Local Rule 9013-1(m)(iii), and
                         such other entities as the Court may direct.

 Del. Bankr. L.R. 9013-1(m)(iv).

           18.       Local Rule 9013-1(m)(iii) states, in relevant part, that the foreign representative

 shall serve certain documents on “the United States Trustee, the creditors included on any list filed

 under Fed. R. Bankr. P. 1007(d) and any party directly affected by the relief sought.” Del. Bankr.

 L.R. 9013-1(m)(iii). Thus, Local Rule 9013-1 could be read to require service of the Notice

 Documents on the Debtors’ entire creditor body as the proposed Provisional Order imposes a stay




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 as against all creditors and parties in interest. Such a reading is inconsistent with Bankruptcy Rule

 2002(q), which requires only that specified parties receive notice of the recognition hearing, and

 that such notice state whether the chapter 15 petition seeks recognition as a foreign main

 proceeding or a foreign nonmain proceeding and shall include the petition.

           19.       Likewise, applying Local Rule 9013-1(m)(iv) to require service of the Provisional

 Order or other documents on all creditors would be inconsistent with the notice requirements of

 plenary U.S. bankruptcy cases under other chapters of the Bankruptcy Code. In such cases,

 creditors typically only receive notice of the imposition of the stay when a short-form notice of

 commencement and section 341 meeting is mailed out several days or weeks into the case. Here,

 the Recognition Hearing Notice fulfills a similar function in that it advises creditors and other

 parties in interests of, among other things, the existence of the stay provided in the Provisional

 Order and other key case facts and deadlines, as well as where to obtain additional information or

 documents free of charge. Moreover, the Recognition Hearing Notice will be mailed to creditors

 and other parties in interest much sooner than a notice of commencement is typically sent in a

 chapter 11 case of similar size and complexity. To require a foreign representative in a chapter 15

 case to serve the debtor’s entire creditor body with the first day motions and orders would impose

 greater burdens on chapter 15 debtors than debtors in chapter 11 cases, and serves no practical

 purpose under the circumstances.

           20.       For these reasons, the Foreign Representative does not believe that Local Rule

 9013-1(m) requires service of the Notice Documents on parties on the Master Service List;

 however, out of an abundance of caution, the Foreign Representative respectfully requests that, to




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 the extent applicable, the service requirements of Local Rule 9013-1(m) be waived in these

 Chapter 15 Cases.

           21.       As set forth above, the Foreign Representative has satisfied the requirements of

 Bankruptcy Rule 2002(q). In addition, service of the Notice Documents on all parties on the

 Master Service List, which comprises numerous creditors and other parties in interest, would be

 an unnecessary cost for the Foreign Representative and the Debtors. Finally, parties on the Master

 Service List will not be prejudiced by the proposed service herein because the Recognition

 Hearing Notice will clearly state where and how the Notice Documents may be obtained free

 of charge and, to the extent that email addresses are available, the Foreign Representative will

 incorporate the Notice Documents into the electronic service of the Recognition Hearing Notice.

 Thus, the form of Recognition Hearing Notice and the manner and timing of service comply with

 Bankruptcy Rule 2002(q), are appropriate in these Chapter 15 Cases and should be approved.

                 Waiver of Requirements of Section 1514(c) of the Bankruptcy Code

           22.       The Foreign Representative respectfully requests that the Court waive, to the extent

 applicable, the requirements of section 1514(c) of the Bankruptcy Code, which provides as

 follows:

            (c) When a notification of commencement of a case is to be given to foreign creditors,
           such notification shall—

                     (1) indicate the time period for filing proofs of claim and specify the place for filing
                             such proofs of claim;

                     (2) indicate whether secured creditors need to file proofs of claim; and

                     (3) contain any other information required to be included in such notification to
                            creditors under this title and the orders of the court.




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           11 U.S.C. § 1514(c).

           23.       It is not clear, however, that section 1514 of the Bankruptcy Code has any

 application in the context of an ancillary case under chapter 15 of the Bankruptcy Code. According

 to Collier, section 1514 of the Bankruptcy Code is the “last in a series of sections dealing with the

 international aspects of cases under chapters other than chapter 15.” 8 COLLIER ON BANKRUPTCY

 ¶ 1514.01 (Alan N. Resnick, et al., 16th ed. rev. 2009). Indeed, the requirements for notification

 set forth in section 1514 are at variance with those requirements set forth under Bankruptcy Rule

 2002(q) which clearly applies to a case under chapter 15 and with which the Foreign

 Representative shall comply.

           24.       Moreover, section 1514(c) applies only when a “notice of commencement” is

 issued. Under section 342(a) and Bankruptcy Rule 2002(f), a notice of commencement issues

 upon the entry of an order for relief. But there is no “order for relief” in a chapter 15 case, nor is

 there a requirement to issue a notice of commencement as in other chapters under the Bankruptcy

 Code. Furthermore, section 342 does not apply in chapter 15 cases. See 11 U.S.C. § 103(a) (stating

 that “sections 307, 362(o), 555 through 557, and 559 through 562 apply in a case under chapter

 15”). For these reasons, the Foreign Representative does not believe that the requirements set forth

 in section 1514 apply to these cases; however, out of an abundance of caution, the Foreign

 Representative respectfully requests that, to the extent applicable, the notice requirements of

 section 1514 of the Bankruptcy Code be waived in these Chapter 15 Cases.

           25.       In any event, the Foreign Representative does not currently intend to conduct a

 claims process in these Chapter 15 Cases; therefore, the requirements of section 1514(c) are not




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 applicable. To the extent that there is a claims process established in the CCAA Proceedings, the

 Foreign Representative will comply with any relevant orders issued by the Canadian Court with

 respect to providing notice of any applicable deadlines or procedures for the filing of claims in the

 CCAA Proceedings.

                                                    Notice

           26.       The Foreign Representative requests that the Court grant this Motion without

 notice. The Foreign Representative will serve notice of entry of the signed Order in accordance

 with the procedures set forth in this Motion. In light of the nature of the relief requested, the

 Foreign Representative requests that this Court find that no further notice is required.

                                  [Remainder of page intentionally left blank]




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         WHEREFORE the Foreign Representative respectfully requests the Court enter the Order,

in the form attached hereto as Exhibit A, granting the relief requested herein and such other and

further relief as it deems just and proper.

Dated: January 11, 2024                       PACHULSKI STANG ZIEHL & JONES LLP


                                              /s/ Steven W. Golden
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